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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )            8:11CR43
                                                  )
       vs.                                        )             ORDER
                                                  )
JOHN CORSON,                                      )
                                                  )
                     Defendant.                   )



       This matter is before the court on the motion of defendant John Corson (Corson) for
a substance abuse evaluation and to participate in a treatment program (Filing No. 65). After
reviewing the Pretrial Services report and Corson’s criminal and substance abuse history,
it appears there remains an outstanding arrest warrant from the State of Colorado. The court
is not inclined to release a defendant from detention while there remains an outstanding
arrest warrant even if there is no request for extradition or a detainer placed by the state
authorities. Once the warrant is cleared, the court will reconsider the motion.
       Corson’s motion (Filing No. 65) is denied without prejudice.


       IT IS SO ORDERED.


       DATED this 29th day of March, 2011.


                                                  BY THE COURT:


                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
